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13                              UNITED STATES DISTRICT COURT
14                             SOUTHERN DISTRICT OF CALIFORNIA
15
16    APARNA VASHISHT-ROTA, an                Case No.: 20cv0959-WQH-MSB
17    individual,
                                              MEMORANDUM OF POINTS AND
18                Plaintiff,                  AUTHORITIES IN SUPPORT OF
                                              DEFENDANT OTTAWA
19          vs.                               UNIVERSITY’S MOTION TO DISMISS
20    OTTAWA UNIVERSITY,                      THE COMPLAINT
21                Defendant.                  [Fed. R. Civ. Proc. Rule 12(b)(1)]
22
                                              (Filed concurrently with Notice of Motion
23                                            and Motion and [Proposed] Order)

24                                            Hearing Date: To Be Determined
                                              Time: To Be Determined
25
26                                            NO ORAL ARGUMENT UNLESS
                                              REQUESTED BY THE COURT
27
28                                            Complaint filed:   May 26, 2020
                                              Trial Date:        Not Set
                                          1
                           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                 DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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 1    I.    INTRODUCTION
 2          Plaintiff Aparna Vashisht-Rota (“Plaintiff” or “Vashisht-Rota”) asserts that her
 3    lawsuit against Defendant Ottawa University (“Defendant” or “Ottawa”), is subject to
 4    federal court jurisdiction pursuant to 28 U.S.C. § 1337(a), which provides that “district
 5    courts shall have original jurisdiction of any civil action or proceeding arising under any
 6    Act of Congress regulating commerce or protecting trade and commerce against restraints
 7    and monopolies[.]” Plaintiff, however, fails to plead any “Act of Congress” which would
 8    confer jurisdiction under 28 U.S.C. § 1337. Plaintiff has not alleged any additional basis for
 9    invoking this Court’s jurisdiction, and thus, her Complaint is subject to dismissal on this
10    basis alone.
11          For purposes of argument in this Motion only, Defendant acknowledges that this
12    Court’s jurisdiction may arise from diversity jurisdiction pursuant to 28 U.S.C. § 1332.
13    However, Plaintiff cannot show that complete diversity of citizenship exists between the
14    parties because she has wholly failed to allege Defendant’s entity status or citizenship, and
15    her Complaint should be dismissed on this basis as well.
16          Plaintiff’s Complaint, on its face, fails to establish a basis for federal court
17    jurisdiction. Defendant respectfully submits the following Memorandum of Points and
18    Authorities in support of its Notice of Motion and Motion to Dismiss Plaintiff’s Complaint
19    without leave to amend for its failure to establish jurisdiction in this Court, with respect to
20    the first, second, third, fourth, and fifth causes of action to Plaintiff’s Complaint against
21    Ottawa, pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure.
22    II.   STATEMENT OF FACTS AND RELEVANT PROCEDURAL HISTORY
23          On May 26, 2020, Plaintiff filed a Complaint in the United States District Court for
24    the Southern District of California against Defendant alleging the following causes of
25    action: (1) Unfair Competition; (2) Unfair Business Practices; (3) Failure to Correct
26
27
28
                                           2
                            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                  DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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 1    Reported Harassment; (4) Failure to Correct Reported and Ongoing Retaliation; and
 2    (5) Intentional Infliction of Cruelty1. (Dkt. No. 1).
 3             Plaintiff alleges that the Court has jurisdiction over this action pursuant to 28 U.S.C.
 4    §§ 1331 and 1337. (Dkt. No. 1, ¶ 12.) To support this claim, Plaintiff identifies the first
 5    cause of action in the Complaint as a claim for “unfair competition.” (Dkt. No. 1, ¶ 14).
 6    Plaintiff fails to allege any “Act of Congress” in the Complaint. (Dkt. No. 1). Plaintiff does
 7    not allege any additional basis for invoking this Court’s jurisdiction.
 8             Plaintiff alleges that she resides in San Diego, California. (Dkt. No. 1, ¶ 13). The
 9    Complaint is silent as to Ottawa’s entity status or citizenship. (Dkt. No. 1).
10             On June 11, 2020, this Court issued an Order to Show Cause why this case should
11    not be dismissed for lack of jurisdiction. Plaintiff was further ordered to respond to the
12    Order to Show Cause within thirty (30) days of June 11, 2020. (Dkt. No. 4). As of the date
13    of this Motion, fifty (50) days have passed since June 11, 2020. Plaintiff, however, has not
14    filed a response to the Court’s Order to Show Cause.
15    III.     ARGUMENT
16             A.       A Rule 12(b)(1) Motion to Dismiss Is Appropriate to Challenge
17                      Jurisdictional Defects in a Complaint and May Be Brought at Any Time.
18             “Federal Rule of Civil Procedure 12(b)(1) allows litigants to seek the dismissal of
19    an action from federal court for lack of subject matter jurisdiction.” Tosco Corp. v.
20    Communities for a Better Env’t, 236 F.3d 495, 499 (9th Cir. 2001. A plaintiff, as the party
21    invoking the court’s jurisdiction, bears the burden of establishing federal subject matter
22    jurisdiction under Federal Rule of Civil Procedure (“FRCP”) 12(b)(1). In re Wilshire
23    Courtyard, 729 F.3d 1279, 1284 (9th Cir. 2013); Stock West, Inc. v. Confederated Tribes,
24    873 F.2d 1221, 1225 (9th Cir. 1989).
25    ///

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27      On July 24, 2020, Defendant filed a Notice of Related Case to inform the Court that the instant matter is related to an earlier-
      filed case pending in this Court, Aparna Vashisht- Rota vs. Howell Management Services and Chris Howell, United States
      District Court S.D. California Case No. 20-cv-0321-JLS-KSC. (Dkt. No. 15.) Defendant has requested that the instant matter
28    be consolidated with the earlier-filed case before the Honorable Janis L. Sammartino. The request is pending.
                                                   3
                                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                          DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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 1          “A plaintiff suing in a federal court must show in his pleading, affirmatively and
 2    distinctly, the existence of whatever is essential to federal jurisdiction, and, if he does not
 3    do so, the court, on having the defect called to its attention or on discovering the same,
 4    must dismiss the case, unless the defect be corrected by amendment.”’ Tosco, supra, 236
 5    F.3d at 499 (quoting Smith v. McCullough, 270 U.S. 456, 459 (1926)). Pursuant to FRCP
 6    12(b)(1) and (h)(3), the Court may entertain a motion to dismiss for lack of subject matter
 7    jurisdiction at any time. A court should not grant a plaintiff leave to amend a complaint
 8    following a successful motion to dismiss if “the pleading could not possibly be cured by
 9    the allegation of other facts.” Lopez v. Smith, 203 F.3d 1122, 1130 (9th Cir. 2000).
10          B.       Plaintiff Has Not Established Jurisdiction Pursuant to 28 U.S.C. § 1337.
11          28 U.S.C. § 1337(a) provides that “district courts shall have original jurisdiction of
12    any civil action or proceeding arising under any Act of Congress regulating commerce or
13    protecting trade and commerce against restraints and monopolies[.]” Although Plaintiff
14    identifies the first cause of action in the Complaint as a claim for “unfair competition,”
15    Plaintiff identifies no “Act of Congress” in the Complaint that would allow 28 U.S.C. §
16    1337 to confer subject matter jurisdiction. 28 U.S.C. § 1337(a). Therefore, Plaintiff has
17    failed to establish subject matter jurisdiction pursuant to 28 U.S.C. § 1337. Defendant
18    respectfully requests that Plaintiff’s Complaint be dismissed for lack of jurisdiction on this
19    basis alone.
20          Moreover, Plaintiff has not alleged any additional basis for invoking this Court’s
21    jurisdiction. For purposes of argument in this Motion only, Defendant acknowledges that
22    this Court’s jurisdiction may arise from diversity jurisdiction pursuant to 28 U.S.C. § 1332.
23    However, as discussed below, Plaintiff has also failed to establish diversity jurisdiction.
24          C.       Plaintiff Bears the Burden of Establishing Diversity Jurisdiction.
25          The citizenship of the parties is a jurisdictional fact in diversity actions. The burden
26    is on the plaintiff – the party invoking federal jurisdiction – to plead and prove such facts.
27    McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 186 (1936).                      The
28    preponderance of the evidence standard applies. Middleton v. Stephenson, 749 F.3d 1197,
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                             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                                   DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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 1    1200 (10th Cir. 2014). In effect, the Court presumes lack of jurisdiction until plaintiff
 2    proves otherwise. Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 376-378;
 3    In re Wilshire Courtyard, 729 F.3d 1279, 1284 (9th Cir. 2013). Any doubt as to whether
 4    jurisdiction exists is normally resolved against a finding of such jurisdiction. Kantor v.
 5    Wellesley Galleries, Ltd., 704 F.2d 1088, 1092 (9th Cir. 1983).
 6           The parties to a federal civil action cannot manufacture subject matter jurisdiction
 7    (e.g., by stipulation, consent, or inaction) where jurisdiction does not exist. Bender v.
 8    Williamsport Area School Dist., 475 U.S. 534, 541 (1986). Further, “federal courts have
 9    an independent obligation to ensure that they do not exceed the scope of their jurisdiction,
10    and therefore they must raise and decide jurisdictional questions that the parties either
11    overlook or elect not to press.” Henderson ex rel. Henderson v. Shinseki, 562 U.S. 428,
12    434.
13           For purposes of this motion, Defendant does not challenge Plaintiff’s assertion that
14    the amount in controversy exceeds $75,000. Defendant challenges Plaintiff’s ability to
15    establish that diversity of citizenship exists between the parties.
16           D.    Plaintiff Fails to Establish Complete Diversity of Citizenship Between the
17                 Parties from the Allegations on the Face of Her Complaint.
18           Diversity jurisdiction exists where the parties are citizens of different states and the
19    amount in controversy exceeds the sum or value of $75,000. 28 U.S.C. § 1332. Federal
20    diversity jurisdiction requires that all parties to the action be “citizens of different states”
21    or “citizens or subjects of a foreign state.” 28 U.S.C. § 1332(a). Diversity of citizenship
22    requires that all parties to the action be “citizens” of different states, and any instance of
23    common citizenship prevents federal diversity jurisdiction. Strawbridge v. Curtiss 7 U.S.
24    267 (1806); Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373-74, (1978).
25           For diversity purposes, a person is a “citizen” of the state in which he or she is
26    domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090. A person’s domicile
27    is the place he or she resides with the intention to remain or to which he or she intends to
28    return. Kantor v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001). According to
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                            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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 1    the Complaint, Plaintiff resides San Diego, California. (Dkt. No. 1, ¶ 13). Thus, Plaintiff
 2    is a citizen of California for purposes of diversity because she has pled that her residence
 3    is in California.
 4            For diversity purposes, “a corporation shall be deemed to be a citizen of every State
 5    and foreign state by which it has been incorporated and the State or foreign state where it
 6    has its principal place of business ….” 28 U.S.C. § 1332(c)(1). Corporations incorporated
 7    in one state, and having their principal places of business in another, are citizens of both
 8    states. They can sue or be sued in diversity actions only if no opposing party is a citizen of
 9    either state. Bank of Calif. Nat’l Ass’n v. Twin Harbors Lumber Co., 465 F.2d 489, 491-
10    492 (9th Cir. 1972). This operates as a significant limitation on federal diversity jurisdiction
11    because dual citizenship increases the chances that some opposing party will be a citizen
12    of one of those states. The Complaint is silent as to Defendant’s entity status or citizenship.
13    (Dkt. No. 1).
14            Plaintiff’s failure to allege Defendant’s entity status or citizenship prevents her from
15    establishing that the parties are diverse. Therefore, Plaintiff cannot establish diversity of
16    citizenship. Thus, this Court lacks subject matter jurisdiction, and the Complaint is subject
17    to dismissal under Rule 12(b)(1).
18    IV.     CONCLUSION
19            For the foregoing reasons, Defendants submit that Plaintiff’s Complaint fails to
20    establish a basis for federal court jurisdiction. Defendant respectfully request that the
21    present Motion to Dismiss be granted, and the Complaint dismissed, with prejudice.
22
23    DATED: July 31, 2020                            JACKSON LEWIS P.C.
24
                                                  By: /s/ Michelle K. Meek
25                                                    Leila Nourani
                                                      Michelle K. Meek
26
27                                                    Attorneys for Defendant
                                                      OTTAWA UNIVERSITY
28    4816-9526-3174, v. 1
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                                   DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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